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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF LOUISANA


    JANA THERESA CHOWNS                                §
                                                       §
                     Plaintiff                         §
                                                       §
    v.                                                 § Civil Action No. 3:16-cv-00685
                                                       §
                                                       §
    TRANUNION, LLC; and                                §
    EXPERIAN INFORMATION                               §
    SOLUTIONS, INC                                     §
                                                       §
                                                       §
                                                       §
                     Defendants                        §


                          NOTICE OF SETTLEMENT WITH
                      EXPERIAN INFORMATION SOLUTIONS, INC.


           NOW COMES Plaintiff, to file this Notice, and in support would show as follows.

           1. Plaintiff is filing this notice to inform this Court that Plaintiff has settled this

               case with Experian Information Solutions, Inc.

           2. Plaintiff will file the documentation required to terminate Defendant and to

               file a Stipulation of Dismissal once the closing documents are exchanged and

               executed.

           3. Please clear all of the dates on the docket due to the fact that this case as been

               settled.


                                  CERTIFICATE OF SERVICE

    I hereby certify that on the 17th day of April, 2017, I electronically filed the foregoing
    with the Clerk of Court using the CM/ECF system which will send notification of such
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    filing to the attorneys on record:




    Date Signed this the 17th day of April, 2017



                                          Respectfully submitted,

                                                     /s/ Jonathan Raburn
                                                   Jonathan Raburn
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